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    RESPONSE IN OPPOSITION TO NFL PARTIES’ OBJECTION TO THE SPECIAL
         MASTER’S RULING ON THE “ELIGIBLE SEASON” DEFINITION

        Representative Claimant Chelsea Oliver files her Opposition to the NFL Parties’ Objection

to Special Master Pritchett’s application of the “Eligible Season” definition (D.E. 9513, dated Dec.

5, 2017), asking the Court to affirm the ruling and stating the following in support1:

                                                OVERVIEW2

        Paul Oliver, a defensive back drafted by the Chargers, played five, full seasons on their 53-

man roster beginning in 2007-08. At the conclusion of that same preseason training camp, his

college teammate Tra Battle—who never made the 53-man roster—signed with the Chargers’

practice squad.       Battle and Oliver literally played the same position. Their roles were

indistinguishable, Monday through Saturday; both practiced daily, receiving daily head-hits. On

Sundays, however, only Oliver, as a member of the team’s Active List, was eligible to play in

games. Nine weeks into the season, the team released Battle from its practice squad, while Oliver

remained on the Active List throughout a 20-week regular and post-season. In this real-life

example, the NFL’s rejected application of operative Settlement Agreement (“SA”) terms would

have resulted in only Battle’s, not Oliver’s, receiving of any Eligible Season (“ES”) credit. Battle

would have received one-half ES; Mr. Oliver, on the other hand, who played on the actual team,

on its Active List for all 20 regular and post-season weeks, would have accrued zero ESs. As the

Special Master ruled, indeed, this “would lead to an absurd result.” Ruling, at 8.

        Beyond simply leading to an absurd result, the NFL’s proposed application also radically

departs from the plain meaning of SA §§ 2.1(a) (“Active List”) and (kk) (“ES”). These provisions


1
 Ms. Oliver incorporates by reference and attaches as Exhibits: her Statement of Appeal (Ex “A”); class counsel’s
briefing as ordered by SM Pritchett (Ex “B”), and SM Pritchett’s ruling.
2
 Ms. Oliver avoids recapitulating the entirety of the arguments below, referring the Court to the attached briefing
while focusing this overview on those issues raised by the NFL Parties’ Objection.


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allow for ES accrual in one of two ways: either by (a) spending three or more regular or post-

season games on an “Active List” (the list of “all players physically present, eligible, and under

contract to play for a Member Club on a particular game day within any applicable roster or squad

limits”, as defined by the NFL Constitution applicable to the given player); or (b) spending one of

these game-weeks on the Active list and two or more inactive due from head injury and/or off of

a roster entirely and on “Injured Reserve”3 due to head injury. As explained below and supported

by a former NFL Executive of the Year (ex. “A”), Paul Oliver met the ES criteria under this

straightforward, plain-language application of these terms. The team chose not to play him, but

he remained eligible4 for play each week.5

         The NFL objects to the Special Master’s ruling through two arguments. First, it asks the

Court to ignore the definition of Active List within Section 17.2 of the NFL Constitution & Bylaws,

applicable for 07-08, and interpose a separately-defined term from a separate section (17.3) of that

NFL Constitution: “45-player Active List.” But the term “45-player Active List” is literally

nowhere within the SA, and nowhere is discussed in the SA in terms of eligibility. The SA

references only an applicable Constitution’s definition of Active List, further describing such an



3
  NFL Constitutions denominate three lists through which to categorize fully-rostered (e.g., non-practice squad)
players: Active; Reserve (e.g., injuries, retirement, military service); and Exemption (e.g., suspension, death.) Players
suffering serious injury are removed from team Active Lists altogether, and placed onto the “Reserve/Injured” list,
colloquially known as “Injured Reserve” or “IR.” The IR list is altogether separate from the Active List.
4
  As the NFL points out, at various times throughout the roughly 85 NFL league-years governed by the SA, this
structure has changed. See, Obj., at 1, n.1; 14. For the majority of league-years at issue, some players would be
designated “inactive” on calendar dates other than game-day. Regardless, during Oliver’s ES at issue, as the Special
Master also found, he was eligible to play on the date of the game. the Active List definition refers only to those
“eligible” to play in games; not those who actually did play. This Circuit has long observed the distinction between
being eligible for something versus actually doing it. See, e.g., United Steelworkers of Am. v. Crane Co., 605 F.2d
714, 718 (3rd Cir. 1979) (differentiating pension-eligibility from actual payment of benefits). Mr. Oliver remained
eligible for play, the team’s decision not to actually play him does not change his eligibility.
5
  Importantly, it frequently happens in the modern NFL that teams “stash” still-developing talents (like Oliver in his
rookie year) on their Active Lists rather than signing them to practice squads. This prevents other teams from offering
these players full, Active List contracts, per CBA rules. Nevertheless, he was healthy and available all season.


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Active List as encompassing “any” applicable roster or squad limits, e.g., the full roster which is

eligible to play. And while the NFL attempts to explain away—what is at best—an astonishing

lack of clarity as being for “ease of reference” and due to the fact that “game day rosters changed

at various points in time”, this is belied by the comprehensive nature of the SA and further by the

fact that it certainly could have referenced the phrase “game day rosters” within § 2.1(a); yet it did

no such thing. Second, the NFL contends that the Special Master’s application of these terms

renders the latter portion of § 2.1(kk) meaningless, purportedly because every player now receives

Active List credit even when inactive for a game due to non-head-injury. This is simply incorrect.

As the NFL itself points out, the rules governing timing for teams to designate “inactives” changed

over time. This provision retains meaning because there are literally thousands of players who

were designated “inactive” on days other than game days.

         Special Master Pritchett’s application of these terms is the one most consistent with the

letter and spirit of the settlement. As he explained, this construction does not impair the meaning

of either term, because the two ES provisions “can be reasonably interpreted to conclude that

players who are first placed on the Inactive list 90 minutes before kickoff were on the club’s Active

List ‘on the date of’ the game …” Ruling, at 5. Nevertheless, there will continue to be thousands

of examples of players designated inactive on days other than game day. Thus, the term retains

meaning and does not merely grant an eligible season to every player, as the NFL Defendants seem

to suggest. For these reasons, the Court should affirm the Special Master’s application of these

terms.

                      FACTUAL AND PROCEDURAL BACKGROUND

         In 2013, Chelsea Oliver became a widow and Representative Claimant, after watching 29-

year-old Paul Oliver shoot himself in the head, directly in front of her and their toddlers, a mere




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20 months removed from five full seasons spent on 53-man active lists, whereupon post-mortem

examination revealed CTE. Although Ms. Oliver originally opted out, she reconsidered and

released her claims, relying on a seemingly pre-determined Monetary Award of $4,000,000.6 But

her claim was erroneously calculated to her $800,000 detriment, using the flawed application of

SA terms to deny this ES. Again, had the family of Mr. Battle received an identical Monetary

Award, theirs would have included $400,000 from Battle’s participation in half of a 2007-08

practice-squad season for the Chargers. Paradoxically, had Mr. Oliver not made the 53-man roster

and been a practice player, his widow would have fared better than she did with her husband

actually having made the team. Instead, because he was on the team—the NFL’s reading of the

SA left Ms. Oliver to receive zero for the same exposures. Ms. Oliver raised this result’s absurdity

on appeal, alongside her straightforward argument on the meaning of “Active List.”7

           She included a supporting and unrebutted declaration (id) from the 2001 NFL Executive

of the year, which clarified that the operative SA term (Active List) in concert with the applicable

NFL Constitution and Bylaws8 meant her husband accrued an ES for 2007-08. See id. The NFL

Defendants rebutted Mr. Oliver’s Active List status for that year by conflating this constitutionally-

derived term with a separate defined-term: “45-player Active List.” As Defendants concede9, such

a differentiation (between two purported active lists) is nowhere within the SA, even though—as

the Special Master’s ruling points out—it certainly could have been, had that been the intent. As



6
  This is of course also true with respect to those SCMs playing only one full season in the NFL on a 53-man Active-
Roster, without game-play; these SCMs released their claims, understanding they would be BAP-eligible; under the
NFL’s reading of the SA, players on the Active 53-man roster, inactive for games get absolutely zero BAP benefit yet
released their claims forever. Their counterparts on practice squads would receive an Eligible half-season.
7
    Oliver Appeal at 1-2. (Ex. “A”).
8
    See SA § 2.1(a) (“Active List”).
9
    NFL Defendants’ Opposition to Statement of Appeal at 2; see also NFL 27, n.1.


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Ms. Oliver’s declarant clarified, Mr. Oliver indeed was a member of his team’s Active List, and

this could be the only reasonable interpretation of “Active List”, particularly where the SA never

references the separately defined term “45-player Active List.” The NFL further responded,

echoed in its objection to the ruling, that unless the applicable constitution’s definition for “45-

player Active List” was substituted for the definition of “Active List”, the SA’s definition of ES

would be “rendered meaningless.” Special Master Pritchett’s ruling rebutted the NFL’s flawed

reasoning. As he held, “the plain meaning [] is evident: [] players who were on the Active List on

the calendar day of their club’s regular or post-season game shall receive credit toward that game

for the purposes of calculating an ES, even when that player was placed on the Inactive or Injured

Reserve Lists prior to the start of the game.” This left intact meaning in both subparts of § 2.1(kk).

                  THE NFL PARTIES’ ARGUMENTS ARE UNAVAILING

       In objecting to the Special Master’s ruling, the NFL Defendants continue to advance their

we-really-meant-the-45-player-Active-List argument. As discussed above, this does not comport

with the terms as defined within the SA. If one simply reads the provisions at issue alongside

whichever NFL Constitution governs, one can only conclude the regular season Active List to be

the 53-man roster. This list comprises the menu from which coaches select players to play. The

NFL conflates the concept of eligibility to play in a game with the actual event of players playing

in games.

       As the Special Master wrote, “had the parties intended to specify [this], they could have

[done so.]” Ruling, at 7. Excluding seasons fully spent playing football on active rosters would

have been easy to explain to Ms. Oliver and to numerous class-members forever releasing valuable

rights on (what would be) mistaken beliefs as to their MAF awards or BAP-eligibility. The NFL’s




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preferred application is simply not fairly read from the plain-text of the SA and applicable

Constitution.

       Their rendered-meaningless argument fares no better, as the Special Master addressed this

issue squarely in his ruling. First, although the NFL claims the Special Master’s ruling would

result in all players being counted on the Active List, as the NFL’s own submissions reveal (Obj.,

at 7, n.3, 9) this is plainly not the case. Possibly for that reason, and for the first time, the NFL

Defendants additionally ask the Court, on its de novo review of a purely legal question, to

reconsider this issue through new evidence, claimed to support their argument that the prevailing

application renders the purported “limiting” term (ES) meaningless. Obj., 8-9 (citing Fiore Decl.)

The Court should decline this invitation as it falls beyond the scope of de novo review, e.g. Mills

v. Philadelphia Gas Works, 264 Fed App’x 239, 241-42 (3rd Cir. 2008) (refusing to consider new

affidavits on de novo review of summary judgment.) But even if the Court considered this

evidence, the NFL’s position would be no less infirm. The NFL’s evidence merely establishes

that in many—and indeed most—NFL league years, players could be designated as inactive prior

to the date of the game for injury or on the date of the game. Thus, it is simply inaccurate to argue

the Special Master’s ruling renders meaningless the term “inactive list.”

                                         CONCLUSION

       This Court should affirm the Special Master’s ruling and clarify that Mr. Oliver’s rookie

season in 2007-08 spent on the Active List earns his widow the corresponding ES.



Dated: February 9, 2018                               Respectfully submitted,

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